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    EXHIBIT 7
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                              UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA




 IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
 LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC


 This document relates to :

 ALL ACTIONS



                   EXPERT REPORT OF DR. BEATE RITZ, M.D., Ph.D.

                         IN SUPPORT OF GENERAL CAUSATION

                                ON BEHALF OF PLAINTIFFS

1.     Beate Ritz, MD, PhD, Background and Qualifications


       I, Beate Ritz, MD, Ph.D., am Professor of Epidemiology at the UCLA Fielding School
of Public Health, former Chair of the Epidemiology Department, and I hold co-appointments in
Environmental Health Sciences and Neurology at the UCLA , School of Medicine. I was trained
in Medicine at the University of Hamburg/Germany and received a doctoral degree from the
University of Hamburg in Medical Sociology in 1986. I furthermore received another doctoral
degree in Epidemiology from UCLA in 1995, and subsequently was hired as a faculty at UCLA.
My faculty appointment at UCLA is one of several positions specifically assigned to the Center
of Occupational and Environmental Health (COEH) mandated by the State of California to
conduct research, teaching, and service to communities in California on occupational and
environmental health issues. Hence, my primary research interests are health effects from
occupational and environmental exposures with a focus on pesticides and air pollution and
chronic diseases including cancers, reproductive outcomes, neurodevelopmental disorders and
neurodegenerative diseases . I served for more than a decade as the co-director of the NJEHS-
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for cancer development may not be known. 53 Among all pesticide applicators included in the
analysis, 76% had ever used glyphosate, which made it among the most common pesticide used
among applicators in this study. This is in line with other research on glyphosate, which reports
that as of 1999, glyphosate was the highest selling crop-protection product on the market. 55
However, it is important to note that the first year genetically engineered, glyphosate-tolerant
crops were planted commercially in the U.S. is 1996, and that prior to this date glyphosate
accounted for just 3.8% of the total volume of herbicide active ingredients applied in
agriculture 56 while glyphosate accounted for half of the total agricultural herbicide use in 2009
[see Coupe]. Also, in a 20-year timespan covered by EPA sales and usage reports (1987-2007),
glyphosate use rose faster and more substantially than any other pesticide (in 2007, usage was in
the range of 81.6-83.9 million kilograms, more than double the next most heavily sprayed
pesticide (atrazine: -33.1-35.4 million kilograms) making it the most heavily applied pesticide
in the U.S. with 2/3 of the share of the total volume having been applied in just the last decade. 57-
59

        Given the persistence of glyphosate in soil (with a half-life of 29-60 days 60 ·61 ), the
possibility of exposure to glyphosate due to drift from fieldsiii ,62 -64 and a possibility of
contaminated water supplies,65 it is plausible that passive exposure may have ultimately been
much higher among agricultural communities and pesticide applicators than the 76% who
reported ever use; more importantly, the baseline exposure assessment in the AHS only covered
the first two years of very intensive use of glyphosate i.e. those who were enrolled in 1996/97.
When exposure to an agent is extremely high-and potentially even ubiquitous as in a cohort of
pesticide applicators, who spend their days in agricultural fields-it eventually becomes
impossible to study its health effects since there are little or no exposure contrast to measure at




iii Studies of pesticide drift suggest the distance that pesticides travel depends upon several factors: first,
the method of application, with air spraying by plane or helicopter (common due to its ease of use)
leading to further drift than ground spraying, because the spraying occurs higher above crops; secondly,
wind speed; and thirdly, pesticide droplet size, with smaller droplets travelling further. Estimates of
pesticide drift vary from 74 meters in an area with low wind, up through >2400 meters under windy
conditions. Studies of glyphosate pesticide drift suggest droplets can travel upwards of 800-1000 meters.
According to the US EPA, spray drift has been reported to be a problem with glyphosate, as there have
been multiple reports of damage from glyphosate to non-target crops.


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